Case 18-06044-LT11    Filed 12/04/19   Entered 12/04/19 15:30:02    Doc 502   Pg. 1 of 1




                              TENTATIVE RULING
                     ISSUED BY JUDGE LAURA S. TAYLOR




   Debtor:      JESSE WAYNE DAWBER


   Number:      18-06044-LT11
   Hearing:     11:00 AM Thursday, December 5, 2019
   Motion:  HEARING SET BY COURT ON PROPOSED SUBSTITUTION OF
   ATTORNEY AND ORDER THEREON SUBMITTED BY ATTY ARAM
   ORDUBEGIAN (RE DEBTOR/DEFENDANT JESSE DAWBER)


   Hear. The Court was unable to act on the substitution order. Questions exist: (1)
   Does the Firm seek to substitute out in both the adversary proceeding and the
   main case? (2) Does Mr. Dawber agree with the request? (3) Has the Firm taken
   all steps required by the Rules of Professional conduct in connection with this
   request? (4) Absent Mr. Dawber's agreement, is there an appropriate basis for
   the request?
   The Firm should be prepared to provide answers at the hearing.
